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 6

 7
                                UNITED STATES DISTRICT COURT
 8                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
 9

10    In re Google RTB Consumer Privacy               CASE NO. 4:21-cv-02155-YGR-VKD
      Litigation,
11
                                                      JOINT STIPULATION AND [PROPOSED]
12                                                    ORDER RE: CASE SCHEDULE
13
      This Document relates to: all actions.          Civil L.R. 6-1(b); 6-2(a)
14

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17
            WHEREAS, on December 18, 2023, Plaintiffs filed an administrative motion to extend the
18
     pretrial case schedule by approximately two months (ECF No. 638), which Defendant Google LLC
19
     (“Google”) opposed on December 21, 2023 (ECF No. 647); and
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            WHEREAS, the Court has not yet ruled on Plaintiffs’ motion; and
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            WHEREAS, the deadline to complete fact discovery expired on January 19, 2024 (ECF Nos.
22
     530, 534) and the deadline to file any fact discovery motions is January 26, 2024, pursuant to Civil
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     Local Rule 37-3; and
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            WHEREAS, the parties are presently meeting and conferring on a number of discovery
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     disputes arising from discovery served by both parties before the fact discovery cut-off; and
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     JOINT STIPULATION AND [PROPOSED] ORDER RE
     CASE SCHEDULE
                                                                                  4:21-CV-02155-YGR-VKD
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 1          WHEREAS, the parties agree that one additional week to complete the meet and confer

 2 discussions will allow the parties to hopefully resolve or narrow many of their outstanding discovery

 3 disputes; and

 4          WHEREAS, under the current schedule, opening merits expert reports are due to be

 5 exchanged on February 9, 2024 (ECF Nos. 530, 534); and

 6          WHEREAS, the parties agree that the current schedule governing merits experts discovery

 7 and dispositive motion practice should be extended by approximately two months to allow time for

 8 all fact discovery to be completed and any fact discovery disputes resolved before the parties

 9 exchange merits expert reports; and
10          WHEREAS, in light of the foregoing, the parties have met and conferred regarding the case
11 schedule and, with the exception of the extension of the fact discovery cut-off (which already has

12 passed), agree the Court should adopt the following schedule:

13                Event                  Deadline Under Current          Deadline Under New Case
                                              Case Schedule                       Schedule
14    Fact Discovery Motion           January 26, 2024                  February 2, 2024
15    Deadline
      Opening Expert Reports          February 9, 2024                  April 5, 2024
16    Rebuttal Expert Reports         March 15, 2024                    May 14, 2024
      Close of Expert Discovery       April 12, 2024                    June 7, 2024
17    Dispositive/Daubert Motions     May 17, 2024                      July 12, 2024
      Pretrial Conference             To be determined later            To be determined later
18
      Jury Trial                      To be determined later            To be determined later
19
            NOW, THEREFORE, the parties stipulate, subject to the Court’s approval, that the revised
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     case schedule set forth above be adopted and Plaintiffs’ motion to extend the pretrial case schedule
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     (ECF No. 638) denied as moot.
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     SO STIPULATED.
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     Dated: January 22, 2024
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     JOINT STIPULATION AND [PROPOSED] ORDER RE
     CASE SCHEDULE                                                        Case No. 4:21-cv-2155-YGR-VKD
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 1    PRITZKER LEVINE LLP                            COOLEY LLP

 2    By: /s/ Elizabeth C. Pritzker________          By: /s/ Whitty Somvichian__
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     JOINT STIPULATION AND [PROPOSED] ORDER RE
     CASE SCHEDULE                                                  Case No. 4:21-cv-2155-YGR-VKD
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 1                                       [PROPOSED] ORDER

 2         Having considered the parties’ stipulation, the Court orders as follows:

 3             1. The Court enters the case schedule as stipulated by the parties as follows:

 4              Event                   Current Case Schedule           Deadline Under New Case
                                                                                 Schedule
 5    Fact Discovery Motion          January 26, 2024                  February 2, 2024
 6    Deadline
      Opening Expert Reports         February 9, 2024                  April 5, 2024
 7    Rebuttal Expert Reports        March 15, 2024                    May 14, 2024
      Close of Expert Discovery      April 12, 2024                    June 7, 2024
 8    Dispositive/Daubert Motions    May 17, 2024                      July 12, 2024
      Pretrial Conference            To be determined later            To be determined later
 9
      Jury Trial                     To be determined later            To be determined later
10

11             2. In light of the parties’ stipulation, Plaintiffs’ administrative motion to extend
               the pretrial case schedule (ECF No. 638) is denied as moot.
12
               3. Defendant Google's request for a sur-reply (Dkt. No. 636) is also denied.
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15   SO ORDERED.
          January 24 2024
16 Dated: __________,

17                                                  Hon. Yvonne Gonzalez Rogers
                                                    United States District Court Judge
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     JOINT STIPULATION AND [PROPOSED] ORDER RE
     CASE SCHEDULE                                                       Case No. 4:21-cv-2155-YGR-VKD
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 1                                          ATTESTATION

 2
           I, Bethany Caracuzzo, attest that concurrence in the filing of this document has been obtained
 3

 4 from the other signatories. Executed on January 22, 2024 in Emeryville, California.

 5                                                              /s/ Bethany Caracuzzo
                                                                Bethany Caracuzzo
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       JOINT STIPULATION AND [PROPOSED] ORDER RE                                          02155
       AND CASE SCHEDULE                                                          4:21-CV-05146-YGR-VKD
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